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                                                                          U.S. D'7: ' ; r r*! Ic




                                                                    Appeal Waiver YES
                                                                    Asset Forfeiture YES


                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
                                  BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                            CR 217-49


                V.



 DAVID JOSEPH MUYRES


                           SUMMARY OF PLEA AGREEMENT


DEFENSE COUNSEL:


Alex L. Zipperer, Esq.

STATUTES CHARGED:


Count One -18 U.S.C. § 371 - Conspiracy

COUNT PLEADING TO:


Count One -18 U.S.C. § 371 - Conspiracy

MAXIMUM STATUTORY PENALTY;


Imprisonment for not more than 5 years;
Fine of not more than $250,000 pursuant to 18 U.S.C. § 3571;
Not more than 3 years supervised release, pursuant to 18 U.S.C. § 3583;
$100 special assessment.
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ELEMENTS OF THE OFFENSE:


    First:         two or more persons in some way agreed to try to accomplish a shared and
                   unlawful plan;
    Second:        the Defendant knew the unlawful purposeof the plan and willfullyjoined
                   in it;
    Third:         during the conspiracy, one of the conspirators knowingly engaged in at
                   least one overt act as described in the Information; and
    Fourth:        the overt act was committed at or about the time alleged and with the
                   purposeof carryingout or accomplishing some object of the conspiracy.


TERMS OF PLEA AGREEMENT:


    •   Defendant waives indictment by the Grand Jury.

    •   Defendant will plead guilty to Count One of the Information.

    •   The government will not object to a recommendation by the U.S. Probation Office
        that Defendant receive an appropriate reduction in offense level for acceptance of
        responsibility pursuant to Section 3E1.1 of the Sentencing Guidelines.

    •   Defendant agrees to provide full, complete, candid, and truthful cooperation to the
        government. The government, in its sole discretion, will decide whether that
        cooperation qualifies as "substantial assistance" that warrants the filing of a motion
        for downward departure or reduction in sentence.

    •   Defendant agrees to forfeit his interest in the property described in the forfeiture
        allegation ofthe Information.

    •   Defendant understand and has discussed with his attorney that the Office of the State
        Attorney for the 4"^ Judicial Circuit, ClayCounty, Florida, has stated its intent to
        dismiss any pending or prospective state charges against defendant arising from
        events on or about June 13, 2017 if he successfully enters a plea to Count One ofthe
        Information and is sentenced on that Count. Defendant understand and has discussed
        with his attorney that the United States has no authority of any kind concerning any
        pending state charges against Defendant.

    •   Defendant waives his right to appeal on any ground, with only three exceptions: he
        may appeal his sentence if (1) that sentence exceeds the statutory maximum, (2) that
        sentence exceeds the advisory Guidelines range determined by this Court at
        sentencing, or (3) the government appeals.




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     Defendant entirely waives his right to collaterally attack his conviction and sentence
     on any ground and by any method, including but not limited to a 28 U.S.C. § 2255
     motion. The only exception is that Defendant may collaterally attackhis conviction
     and sentence based on a claim of ineffective assistance of counsel.

     Defendant waives all rights to request information about the investigation and
     prosecution of his caseunderthe Freedom of Information Act or the Privacy Act.

     Defendant waives the protections of Rule 11(f) of the Federal Rules of Criminal
     Procedure and Rule 410 of the Federal Rules of Evidence. If he fails to plead guilty,
     or later withdraws his guilty plea, all statements made by him in connection with that
     plea, and any leads derived therefrom, shallbe admissible for any and all purposes.




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                                                                      Minimum Mandatory NO
                                                                      Rule 35/5K1.1 YES
                                                                      Appeal Waiver YES
                                                                      Asset Forfeiture YES


                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                       )     CR 217-49

                 V.



 DAVID JOSEPH MUYRES


                                     PLEA AGREEMENT


       Defendant, represented by counsel, and the United Statesof America, represented by

Assistant United States Attomey Karl 1. Knoche, have reached a plea agreement in this case. The

terms and conditions of that agreement are as follows.

1.     Guilty Plea


       Defendant agrees to enter a plea of guilty to Count One of the Information, which charges

a violation of 18 U.S.C. § 371.

2.     Elements and Factual Basis


       The elements necessary to prove the offense charged in Count One are:

       First:         two or more persons in some way agreed to try to accomplish a shared and
                      unlawful plan;
       Second:        the Defendant knew the unlawful purpose of the plan and willfully joined
                       in it;
       Third:         during the conspiracy, one of the conspirators knowingly engaged in at
                       least one overt act as described in the Information; and
       Fourth:        the overt act was committed at or about the time alleged and with the
                      purpose of carrying out or accomplishing some object of the conspiracy.
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       Defendant agrees that he is, in fact, guilty of this offense. He agrees to the accuracyof the

following facts which satisfy each of the offense's required elements:

        1. That from on or about October 9, 2014, up to and including on or about June 13,2017,

in Camden County, in the Southem District of Georgia, and elsewhere, the defendant, DAVID

JOSEPH MUYRES, aided and abetted by others, did knowingly and willfully combine,

conspire, confederate and agree with other persons:

       a) to knowingly and intentionally distribute and dispense, and cause to be distributed and

dispensed, quantities of controlled substances, including oxycodone, hydromorphone, and

hydrocodone. Schedule II controlled substances, and alprazolam, a Schedule IV controlled

substance, not for a legitimate medical purpose and not in the usual course ofprofessional

practice, contrary to Title 21, United States Code, Section 841(a)(1); and

       b) to knowinglyand willfully engage in financial transactions conceming Coastline

Physical Medicine and Rehabilitation, Brunswick, Georgia, which transactions involved the

proceeds of specified unlawful activity, that is, the unlawful distribution and dispensation of

controlled substances, in violation of Title 21, United States Code, Section 841(a)(1), with the

intent to promote the carryingon of the aforesaid specified unlawful activityand to concealor

disguise the nature, the location, the source, the ownership, or the control of the proceeds of

specified unlawful activity, in violation of Title 18, United States Code, Sections

1956(a)(l)(A)(i) and 1956(a)(l)(B)(i), all done in violation of Title 18, United States Code,

Sections 2 and 1956(h).

3.     Possible Sentence


       Defendant's guilty plea will subject him to the following maximum possible penalty:

Imprisonment for not more than 5 years; Fine of not more than $250,000 pursuant to 18 U.S.C. §
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3571; Not more than 3 years supervised release, pursuant to 18 U.S.C. § 3583; $100 special

assessment.


4.     No Promised Sentence


       No one has promised Defendantthat the Court will impose any particular sentence or a

sentence within any particular range. The Court is not boimd by any estimate of sentence given

or recommendations made by Defendant's counsel, the government, the U.S. Probation Office,

or anyone else. The Courtmay impose a sentence up to the statutory maximum. Defendant will

not be allowed to withdraw his plea of guilty if he receives a more severe sentence than he

expects.

5.     Courtis Use of Guidelines


       The Court is obligated to use the United States Sentencing Guidelines to calculate the

applicable guidelinerange for Defendant's offense and to consider that range, possible

departures under the Sentencing Guidelines, and other sentencing factors under 18 U.S.C. §

3553(a), in determining his sentence. The Sentencing Guidelines are advisory; the Court is not

required to impose a sentence within the range those Guidelines suggest. The Sentencing

Guidelines are based on all of Defendant's relevant conduct, pursuant to U.S.S.G. § 1B1.3, not

just the facts underlying the particular Count to which Defendant is pleading guilty.

6.     Agreements Regarding Sentencing Guidelines


       a.      Acceptance of Responsibility


       The government will not object to a recommendation by the U.S. Probation Office that

Defendant receive a two-level reduction in offense level for acceptance of responsibility pursuant

to Section 3El.l(a) of the Sentencing Guidelines.
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       b.      Use of Information

       The government is free to provide fiill andaccurate information to theCourt and U.S.

Probation Office for use in calculating the applicable Sentencing Guidelines range. Any

incriminating information provided bythe defendant during his cooperation will not beused in

determining the applicable Guidelines range, pursuantto U.S.S.G. § IB1.8.

7.     Restitution

       The amount of restitution orderedby the Court shall include restitution for the full loss

caused by Defendant's total criminal conduct. Restitution is not limited to the specific counts to

which Defendant is pleading guilty. Anypayment schedule imposed by the Court is without

prejudice to the United States to take all actions andremedies available to it to collect the full

amountof the restitution. Any restitution judgment is intended to and will surviveDefendant,

notwithstanding the abatement of any underlying criminal conviction.

8.     Cooperation


       a.      Complete and Truthful Cooperation Required

       Defendant must provide full, complete, candid, and truthful cooperation in the

investigation and prosecution of the offenses charged in his Indictment and any related offenses.

Defendant shall fully and truthfully disclose his knowledge of those offenses and shall fully and

truthfullyanswer any question put to him by law enforcementofficers about those offenses.

       This agreement does not require Defendant to "make a case" against any particular

person. His benefits under this agreement are conditioned only on his cooperation and

truthfulness, not on the outcome of any trial, grand jury, or other proceeding.
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       b.      Motion for Reduction in Sentence Based on Cooperation

       The government, in its sole discretion, will decide whether Defendant's cooperation

qualifies as"substantial assistance" pursuant to U.S.S.G. § 5K1.1 or Fed. R. Crim. P. 35 and

thereby warrants the filing of a motion for downward departure or reduction in Defendant's

sentence. If such a motion is filed, the Court, in its sole discretion, will decide whether, and to

what extent. Defendant's sentence should be reduced. The Court is not required to accept any

recommendation by the government that the Defendant's sentencebe reduced.

9.     Forfeiture


       The defendant agrees to forfeit his interest in the following propertyconstituting or

derived from proceeds the defendant obtained directly or indirectly as a result of the commission

of the offense in Count One, or being property used or intended to be used in any manner or part

to commit and to facilitate the commission of the offense alleged in Count One:
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         Seized From                 Asset DescriDtion            Location from Which Seized

                              Ameris Bank Acct. No.         Ameris Bank, 4835 Town Center Pk^vy,
Bayway Investors Group
                              0000021350 VL:$1,115.00       Jacksonville, Florida

                              Ameris Bank Acct. No.         Ameris Bank, 4835 Town Center Pkwy,
Body Rebuilt Nutrition
                              0000062049 VL: $1,014.74      Jacksonville, Florida

Coastline Physical Medicine   Ameris Bank Acct. No.         Ameris Bank, 4835 Town Center Pkwy,
and Rehabilitation            0000061565 VL:$3,420.53       Jacksonville, Florida

                              Charles Schwab Acct. No.      Charles Schwab, 4853 Town Center Pkwy,
David Joseph Muyres
                              9775-3092 VL: $106,648.28     Jacksonville, Florida

                              Charles Schwab Acct. No.      Charles Schwab, 4853 Town Center Pkwy,
David Joseph Muyres
                              6564-4472 VL:$81,301.26       Jacksonville, Florida

                              $17,572.00 Cash               2412 Stockton Dr.,
David Joseph Muyres
                                                            Fleming Island, Florida.

                              $50,000 in Safe Deposit Box Wells Fargo, 400 Blanding Blvd,
David Joseph Muyres
                              0949                          Jacksonville, Florida

                                                            Safe Deposit Box 0949, Wells Fargo,
David Joseph Muyres           3 Pieces of Jewelry
                                                            400 Blanding Blvd, Jacksonville, Florida

                              249 Assorted Gold/Platinum    Safe Deposit Box 0949, Wells Fargo,
David Joseph Muyres
                              Bars and Coins                400 Blanding Blvd, Jacksonville, Florida

                              Wells Fargo Acct. No.         Wells Fargo, 400 Blanding Blvd,
David Joseph Muyres
                              7322391306 VL: $37,604.47     Jacksonville, Florida

                              Ameris Bank Acct. No.         Ameris Bank, 4835 Town Center Pkwy,
GBDM Realty and Management
                              0000062030 VL:$1,177.91       Jacksonville, Florida

Monument 9A Imaging and       BB&T Acct. No.                BB&T, 4781 Town Center Pkwy,
Diagnostic Center             0000147408080 VL:$67,702.02   Jacksonville, Florida
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        By virtue of the commission of the offense charged in this Information by the defendant,

any and all interest the defendant has in the property subject to forfeiture is vested in the United

States and is hereby forfeited to the United States.

       b.      By this agreement, Defendant agrees to take all steps requested by the United

States to facilitate transfer of title of the Subject Property to the United States, including but

not limited to the signing of a consent order or decree, a stipulation of facts regarding the

transfer and basis for the forfeiture, and any other documents necessary to effectuate such

transfer. Defendant further agrees not to file any claim, answer, or petition for remission or

restitution in any administrative or judicial proceedingpertainingto the Subject Property. If

any such a document has already been filed. Defendant herebywithdraws that filing.

        Defendant agrees to hold the United States and its agents and employees harmless from

anyclaims made in connection with the seizure, forfeiture, or disposal of property connected to

this case. Defendant further agrees to waivethe requirements of the Federal Rules of Criminal

Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,

announcement of the forfeiture at sentencing, and incorporation ofthe forfeiture in the

judgment. Defendant acknowledges that he understands thatthe forfeiture of assets is part of

the sentence that may be imposed in this case and waives any failure by the Courtto advise him

of this pursuant to Rule 1l(b)(l)(J), at the time his guilty plea is accepted.

        Defendant agrees to waive any and all constitutional, statutory, and equitable challenges

on any grounds to the seizure, forfeiture, and disposal of any property seized in this case.

Defendant specifically agrees to waive any claims, defenses or challenges arising under the

Double Jeopardy Clause of the Fifth Amendment and the Excessive Fines Clause of the Eighth

Amendment.
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10.     Related State Charges


        Defendant understands and has discussed with his attorney that the Office of the State

Attorney forthe 4''^ Judicial Circuit, ClayCounty, Florida, has stated its intent to dismiss any

pendingor prospective state chargesagainst defendant arising from events on or about June 13,

2017 if he successfully enters a plea to Count One of the Information and is sentenced on that

Count. Defendant understands and has discussed with his attorney that the United States has no

authority of any kind concerning any pending state charges against Defendant.

11.    Waivers


       a.      Waiver Of Indictment


       The defendant understands that he has a right to have this matter submitted to a grand

jury for a probable cause determination and knowingly and voluntarily relinquishes this right.

       b.      Waiver of Appeal


       Defendant entirely waives his right to a direct appeal of his conviction and sentence on

any ground. The only exceptions are that the Defendant may file a direct appeal of his sentence

if (1) the court enters a sentence above the statutory maximum, (2) the court enters a sentence

above the advisory Sentencing Guidelines range found to apply by the court at sentencing; or (3)

the Government appeals the sentence. Absent those exceptions. Defendant explicitly and

irrevocably instructs his attorney not to file an appeal.

       c.      Waiver of Collateral Attack


       Defendant entirely waives his right to collaterally attack his conviction and sentence on

any ground and by any method, including but not limited to a 28 U.S.C. § 2255 motion. The only

exception is that Defendant may collaterally attack his conviction and sentence based on a claim

of ineffective assistance of counsel.
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        d.     FOIA and Privacy Act Waiver


       Defendant waives all rights, whether asserted directly or through a representative, to

request or receive from any department or agency of the United States any record pertaining to

the investigation or prosecution of this case under the authority of the Freedom of Information

Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a, and all subsequent

amendments thereto.


       e.      Fed« R. Crim. P. lUf) and Fed, R, Evid, 410 Waiver


       Rule 11(f)of the Federal Rules of Criminal Procedureand Rule 410 of the Federal Rules

of Evidence ordinarily limit the admissibility of statements made by a defendant duringthe

course of plea discussions or plea proceedings. Defendant knowingly and voluntarily waives the

protections of these mles. If Defendant fails to pleadguilty, or his plea of guilty is later

withdrawn, all of Defendant's statements in connection with this plea, and any leads derived

therefrom, shall be admissible for any and all purposes.

12.     Other Representations

        Provided the defendant complies with all terms of this plea agreement and conditions of

pretrial release, the government agrees notto oppose bond or defendant's self-surrender to the

BOP.


13.     Required Financial Disclosure

        Not later than 30 days after the entry of his guilty plea. Defendantshall provide to the

United States, under penalty ofpeijury, a financial disclosure form listing all his assets and

financial interests, whether held directly or indirectly, solely or jointly, in his name or in the

name of another. The United States is authorized to mn credit reports on Defendant and to share

the contents of the reports with the Court and U.S. Probation.
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14.    Possible Immigration Effects


       Pleading guilty may have consequences with respect to immigration status if Defendant is

not a citizen of the United States. Under federal law, a broad range of crimes are removable

offenses. Removal and other immigration consequences are the subject of a separate proceeding.

No one, including Defendant's attorneyor the district court, can predict to a certaintythe effect

of his convictionon his immigration status. Defendant nevertheless agrees to plead guilty

regardless of anyimmigration consequences, even if the consequence is his removal from the

United States.


15.    Defendant's Rights

       Defendant has the right to be represented by counsel, and if necessary have the court

appoint counsel, at trial and at every other critical stage ofthe proceeding. Defendant possesses a

number ofrights which hewill waive bypleading guilty, including: the right to plead not guilty,

orhaving already so pleaded, topersist inthat plea; the right toajury trial; and the right attrial
to confrontand cross-examine adverse witnesses, to be protected from compelled self-

incrimination, to testify and present evidence, and to compel the attendance of witnesses.

16.    Satisfaction with Counsel

       Defendant has had the benefit of legal counsel in negotiating this agreement. Defendant

believes that his attomey has represented him faithfully, skillfully, and diligently, and he is

completely satisfied with the legal advice given and the work performed byhis attomey.

17.     Breach of Plea Agreement

        If Defendant breaches the plea agreement, withdraws his guilty plea, or attempts to

withdraw his guilty plea, the government is released from anyagreement herein regarding the

calculation of the advisory Sentencing Guidelines or the appropriate sentence. In addition, the


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government may (1) declare the plea agreement null and void, (2) reinstate any counts that may

have been dismissed pursuant to the plea agreement, and/or (3) file new charges against

Defendant that might otherwise be barred by this plea agreement. Defendant waives any statute-

of-limitations or speedy trial defense to prosecutions reinstated or commencedunder this

paragraph.

18.      Entire Agreement


         This agreement contains the entire agreement between the government and Defendant.

                                            R. BRIANSANNER
                                                                   TORNEY



W fh r
Date                                        Brian T. Rafferty
                                            Chief, Criminal Division




Date '                                         irl I. Knoche
                                            Assistant United States Attorney




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        I have read and carefully reviewed this agreement with my attorney. I understand each

provision of this agreement, and I voluntarily agree to it. I hereby stipulate that the factual basis

set out therein is true and accurate in every respect.




                                               Defendant



       I have fully explained to Defendant all of his rights, and I have carefully reviewed each

andevery partof this agreement with him. I believe that he fully and completely understands it,

and that his decision to enter into this agreement is an informed, intelligent, and voluntary one.




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                   BRUNSWICK DIVISION


 UNITED STATES OF AMERICA                             CR 217-49


                 V.



 DAVID JOSEPH MUYRES
                                              ORDER


       The aforesaid Plea Agreement, having been consideredby the Court in conjunctionwith

the interrogation by the Court of the defendant and the defendant's attorneyat a hearingon the

defendant's motion to changehis plea and the Court finding that the plea of guilty is made freely,

voluntarily and knowingly, it is thereupon,

       ORDERED that the plea of guilty by defendant be, and it is, hereby acceptedand the

foregoing Plea Agreement be, and it is, hereby ratified and confirmed.



               This         day of




                                     /JUDGE, UNITED-STATES DISTRICT COURT
                                      SOUraERN DISTRICT OF GEORGIA
